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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:12-CR-257-19

v.                                                           HON. ROBERT HOLMES BELL

JONATHAN P. WHITE,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Jonathan P. White has filed a motion for modification or reduction of sentence

(ECF No. 735) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on September 2, 2015 (ECF

No. 839). In its report, the probation department recommends the defendant is eligible for reduction

in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the guideline

calculations, and the guideline range applicable to the defendant subsequently has been lowered as
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a result of the retroactive amendment to the Sentencing Guidelines (782). The Probation Department

recommends a reduction in sentence to 43 months imprisonment. A reduction of sentence is

consistent with the policy statements of the U.S. Sentencing Commission.

       The Defendant filed a response to the sentence modification report arguing the report does

not reflect the one-point reduction in the offense level on substantial assistance to the government

(ECF No. 844). The government filed a response (ECF No. 845) agreeing with the Probation

Department's recommendation that 43 months is proportionate relative to the guideline range at the

time of sentencing.

       The Court finds that an amended sentence of 43 months would fall within both the pre-

departure and post-departure sentencing guideline range as the Court did at the original sentencing.

       NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

of sentence (ECF No. 735) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Jonathan

P. White's sentence shall be reduced to 43 months imprisonment, effective November 1, 2015. An

order effectuating the sentence reduction shall issue forthwith.




Dated: October 6, 2015                           /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE
